          Case 1:22-cv-03402-JPO Document 18-2 Filed 05/04/22 Page 1 of 5




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------------- x
SECURITIES AND EXCHANGE COMMISSION,                                     :
                                                                        :
                                    Plaintiff,                          :
                                                                        :   22-cv-3402-JPO
                  – against –                                           :
                                                                        :
SUNG KOOK (BILL) HWANG, et al.,                                         :
                                                                        :
                                    Defendants.                         :
----------------------------------------------------------------------- x


                       JUDGMENT AS TO DEFENDANT SCOTT BECKER

        The Securities and Exchange Commission having filed a Complaint and Defendant Scott

Becker having entered a general appearance; consented to the Court’s jurisdiction over

Defendant and the subject matter of this action; consented to entry of this Judgment; waived

findings of fact and conclusions of law; and waived any right to appeal from this Judgment:

                                                         I.

        IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant is

permanently restrained and enjoined from violating, directly or indirectly, Section 10(b) of the

Securities Exchange Act of 1934 (the “Exchange Act”) [15 U.S.C. § 78j(b)] and Rule 10b-5

promulgated thereunder [17 C.F.R. § 240.10b-5], by using any means or instrumentality of

interstate commerce, or of the mails, or of any facility of any national securities exchange, in

connection with the purchase or sale of any security:

        (a)      to employ any device, scheme, or artifice to defraud;

        (b)      to make any untrue statement of a material fact or to omit to state a material fact

                 necessary in order to make the statements made, in the light of the circumstances

                 under which they were made, not misleading; or

                                                         1
         Case 1:22-cv-03402-JPO Document 18-2 Filed 05/04/22 Page 2 of 5




        (c)     to engage in any act, practice, or course of business which operates or would

                operate as a fraud or deceit upon any person.

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Judgment by personal service or otherwise: (a) Defendant’s officers,

agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendant or with anyone described in (a).

                                                 II.

        IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

is permanently restrained and enjoined from violating Section 17(a) of the Securities Act of 1933

(the “Securities Act”) [15 U.S.C. § 77q(a)] in the offer or sale of any security by the use of any

means or instruments of transportation or communication in interstate commerce or by use of the

mails, directly or indirectly:

        (a)     to employ any device, scheme, or artifice to defraud;

        (b)     to obtain money or property by means of any untrue statement of a material fact

                or any omission of a material fact necessary in order to make the statements

                made, in light of the circumstances under which they were made, not misleading;

                or

        (c)     to engage in any transaction, practice, or course of business which operates or

                would operate as a fraud or deceit upon the purchaser.

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Judgment by personal service or otherwise: (a) Defendant’s officers,



                                                 2
         Case 1:22-cv-03402-JPO Document 18-2 Filed 05/04/22 Page 3 of 5




agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendant or with anyone described in (a).

                                                 III.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

is permanently restrained and enjoined from violating, directly or indirectly, Section 9(a)(2) of

the Exchange Act [15 U.S.C. § 78i(a)(2)], by using the mails or any means or instrumentality of

interstate commerce, or of any facility of any national securities exchange, or for any member of

a national securities exchange, to effect, alone or with one or more other persons, a series of

transactions in any security registered on a national securities exchange, any security not so

registered, or in connection with any security-based swap or security-based swap agreement with

respect to such security creating actual or apparent active trading in such security, or raising or

depressing the price of such security, for the purpose of inducing the purchase or sale of such

security by others.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Judgment by personal service or otherwise: (a) Defendant’s officers,

agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendant or with anyone described in (a).

                                                 IV.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that upon

motion of the Commission, the Court shall determine whether it is appropriate to order

disgorgement of ill-gotten gains and/or a civil penalty pursuant to Section 20(d) of the Securities

Act [15 U.S.C. § 77t(d)] and Section 21(d)(3) of the Exchange Act [15 U.S.C. § 78u(d)(3)], and,



                                                  3
         Case 1:22-cv-03402-JPO Document 18-2 Filed 05/04/22 Page 4 of 5




if so, the amount(s) of the disgorgement and/or civil penalty. If disgorgement is ordered,

Defendant shall pay prejudgment interest thereon, calculated from September 1, 2020, based on

the rate of interest used by the Internal Revenue Service for the underpayment of federal income

tax as set forth in 26 U.S.C. § 6621(a)(2). Upon motion of the Commission, the Court shall

determine whether an order permanently barring Defendant from serving as an officer or director

of any company that has a class of securities registered under Exchange Act Section 12 [15

U.S.C. § 78l] or that is required to file reports under Exchange Act Section 15(d) [15 U.S.C. §

78o(d)], pursuant to Securities Act Section 20(e) [15 U.S.C. § 77t(e)] and Exchange Act Section

21(d)(2) [15 U.S.C. § 78u(d)(2)] is appropriate. In connection with the Commission’s motion for

disgorgement, civil penalties, and/or an officer and director bar, and at any hearing held on such

a motion: (a) Defendant will be precluded from arguing that he did not violate the federal

securities laws as alleged in the Complaint; (b) Defendant may not challenge the validity of the

Consent or this Judgment; (c) solely for the purposes of such motion, the allegations of the

Complaint shall be accepted as and deemed true by the Court; and (d) the Court may determine

the issues raised in the motion on the basis of affidavits, declarations, excerpts of sworn

deposition or investigative testimony, and documentary evidence, without regard to the standards

for summary judgment contained in Rule 56(c) of the Federal Rules of Civil Procedure. In

connection with the Commission’s motion for disgorgement and/or civil penalties, the parties

may take discovery, including discovery from appropriate non-parties.

                                                 V.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Consent is

incorporated herein with the same force and effect as if fully set forth herein, and that Defendant

shall comply with all of the undertakings and agreements set forth therein.



                                                  4
        Case 1:22-cv-03402-JPO Document 18-2 Filed 05/04/22 Page 5 of 5




                                                VI.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, solely for purposes of

exceptions to discharge set forth in Section 523 of the Bankruptcy Code, 11 U.S.C. § 523, the

allegations in the Complaint are true and admitted by Defendant, and further, any debt for

disgorgement, prejudgment interest, civil penalty or other amounts due by Defendant under this

Judgment or any other judgment, order, consent order, decree or settlement agreement entered in

connection with this proceeding, is a debt for the violation by Defendant of the federal securities

laws or any regulation or order issued under such laws, as set forth in Section 523(a)(19) of the

Bankruptcy Code, 11 U.S.C. § 523(a)(19).

                                               VII.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court shall retain

jurisdiction of this matter for the purposes of enforcing the terms of this Judgment.


                                               VIII.

       There being no just reason for delay, pursuant to Rule 54(b) of the Federal Rules of Civil

Procedure, the Clerk is ordered to enter this Judgment forthwith and without further notice.


Dated: ______________, _____

                                              ____________________________________
                                              UNITED STATES DISTRICT JUDGE




                                                 5
